440 F.2d 407
    Charles William PARRIS, Petitioner-Appellant,v.UNITED STATES of America, Respondent-Appellee.No. 30919 Summary Calendar.*v.Citizens Casualty Company of New York, et al., 5 Cir., 1970,431 F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    March 29, 1971.
    
      Charles W. Parris, pro se.
      John W. Stokes, Jr., U.S. Atty., Richard H. Still, Jr., Asst. U.S. Atty., Atlanta, Ga., for respondent-appellee.
      Before WISDOM COLEMAN, and SIMPSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Charles William Parris appeals from the district court denial of his petition for credit on his federal prison sentence for certain time spent in custody prior to his sentencing.  We affirm.
    
    
      2
      The appellant contends that he is entitled to credit for time spent in jail from his January 26, 1963, arrest until his May 9, 1963, sentencing under the 1966 amendment, to 18 U.S.C. 3568.  This amendment, effective July 1, 1966, provides that a defendant shall receive credit on his sentence for time spent in custody 'in connection with the offense or acts for which sentence was imposed'.  We have specifically held that 18 U.S.C. 3568 is not to be given retrospective application.  Howard v. Blackwell, 5 Cir., 1967, 389 F.2d 84.
    
    
      3
      The appellant, Parris, received a sentence for eight years less than the maximum imposable penalty.  The sentence transcript reveals specifically that the trial court took into consideration the time which had been spent in custody between the time of arrest and sentence.
    
    
      4
      The denial of relief was eminently correct and the judgment below must be affirmed.
    
    
      5
      Affirmed.
    
    
      
        *
         (1) Rule 18, 5th Cir.; see Isbell Enterprises, Inc
      
    
    